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                                                                 Friday, 24 August, 2018 05:21:20 PM
                                                                         Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )              17-CR-20037
                                          )
BRENDT A. CHRISTENSEN,                    )
                                          )
       Defendant.                         )              Hearing Requested

MOTION TO SUPPRESS EVIDENCE SEIZED PURSUANT TO THE ILLEGAL SEARCH
            OF DEFENDANT’S APARTMENT ON JUNE 15, 2017

       Defendant Brendt A. Christensen, by and through his attorneys, hereby moves

pursuant to Fed. R. Crim. P. 12(b)(3)(C) to suppress all items of physical evidence seized

pursuant to an illegal search of 2503 W. Springfield Avenue, Champaign, Illinois, on

June 15, 2017. In support of the motion Mr. Christensen states as follows:

I.     Factual Background

       On the evening of June 14, 2017, FBI Special Agents and Detectives with the

University of Illinois Police Department (UIPD) went to the apartment of Brendt and

Michelle Christensen, located at 2503 W. Springfield Avenue, Unit B-2, in Champaign,

Illinois. The purpose of their visit was to execute a search warrant for the Christensens’

2008 black Saturn Astra which had been issued by Magistrate Judge Eric Long that

evening.

       At approximately 11:45 p.m., the agents approached the door of the apartment


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and knocked. Mr. Christensen and his wife, Michelle Christensen, were asleep. Mr.

Christensen answered the door wearing a pair of underwear, having been awakened by

the knocking. The agents then entered the apartment and found Mrs. Christensen

naked, standing in the hallway. The lights in the apartment were not turned on, and

agents shined flashlights in her face.

        Mrs. Christensen retrieved a bathrobe from her bedroom and covered herself.

When she emerged from the bedroom, she observed FBI Special Agent Manganaro and

UIPD Detective Stiverson take Mr. Christensen away from the apartment to the local

FBI office to be interviewed. This left Mrs. Christensen alone in the apartment with the

remaining FBI agents; upon information and belief, there were at least seven agents in

the apartment at the time.1

        Special Agents Katherine Tenaglia and Andrew Huckstadt sat her down and

began interviewing her just before midnight. Throughout the time that she was being

interviewed, the other agents who were in the apartment were taking photographs and

going through her and her husband’s belongings. Mrs. Christensen felt confused and

shocked by the intrusion into her residence. Tenaglia and Huckstadt interviewed her

for approximately two hours. Not until the conclusion of her interview, at

approximately 1:45am, did the agents secure a signed FD-26 Consent to Search form

from Mrs. Christensen. By then, the search was approximately two thirds’ complete.


1
 An FD 302 form provided in discovery indicates that the FBI Agents present for the interview/search of
the apartment were Justin Tennyson, Mark Hill, Joel Smith, Brian Schenkelberg, Katherine Tenaglia,
Andrew Huckstadt, and Michael Carter.
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       When the FBI agents left the residence, they took several items with them

including but not limited to: computer towers, cellular telephones, a digital camera, an

external hard drive, and laptop computers. If Mrs. Christensen had known she had a

legal right to refuse to consent to the search, she would have exercised it prior to its

commencement. She was not asked to provide consent at that time, however, and had

no knowledge that she could refuse to permit the search.

II.    Argument

       Michelle Christensen did not validly consent to the search of the apartment in

question in the early morning hours of June 15, 2017. First, consent was not given until

the search had already been ongoing for two hours. Second, the totality of the

circumstances indicate that any consent Mrs. Christensen provided at that late juncture

was involuntarily given, thus all evidence seized pursuant to that consent should be

excluded. Third, even if her consent could somehow be deemed valid, the removal of

Mr. Christensen from the premises was objectively unreasonable as a lawful detention

at the time. Rather, it was a deliberate effort by law enforcement to isolate Mrs.

Christensen from her husband and vitiate his right to refuse to consent to a search of his

own property.

       A.     Standing

       As an initial matter, Mr. Christensen has standing to challenge the search of his

residence. A person can claim the protection of the Fourth Amendment’s bar against

unlawful searches and seizures when he had a legitimate expectation of privacy in the

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invaded place that society is prepared to recognize as reasonable. Minnesota v. Olson,

495 U.S. 91, 95-96 (1990) (citing Rakas v. Illinois, 439 U.S. 128, 143 (1978)). A residence is

the primary example of where a person has the highest expectation of privacy. As the

Supreme Court recognizes, the “physical entry of the home is the chief evil against

which the wording of the Fourth Amendment is directed.” Payton v. New York, 445 U.S.

573, 585 (1980). When a third party consents to the search of a residence, the aggrieved

party may challenge the validity of that consent. United States v. Cellitti, 387 F.3d 618,

621 (7th Cir. 2004) (citing United States v. Matlock, 415 U.S. 164 (1974)).

       There is no dispute that Mr. Christensen resided at 2503 W. Springfield, Unit B-2,

and as such had a reasonable expectation of privacy in the home. If his wife’s

constitutional rights were violated and she was coerced into consenting to a search of

the apartment, Mr. Christensen’s rights were also violated and he can challenge the

voluntariness of her consent. Cellitti, 387 F.3d at 622.

       B.     Michelle Christensen did not freely and voluntarily consent to the
              search of the premises.

       A search conducted without a warrant is considered unreasonable subject only to

a few well-delineated exceptions. Schneckloth v. Bustamonte, 412 U.S. 218, 219 (1973). One

of those exceptions exists when the warrantless search is conducted pursuant to validly

given consent. Id. at 222 (citing Katz v. United States, 389 U.S. 347, 358 (1967)Whether

consent was freely and voluntarily given is a factual question. Cellitti, 387 F.3d at 622

(citing United States v. Pedroza, 269 F.3d 821, 826 (7th Cir. 2001)). Several factors are

considered in the analysis, including (1) the age, intelligence, and education of the
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person who gave consent, (2) whether she was advised of her constitutional rights, (3)

how long she was detained before consenting, (4) whether she consented immediately

or only after repeated requests by authorities, (5) whether physical coercion was used,

and (6) whether she was in police custody at the time she gave her consent. Id. (citing

Schneckloth, 412 U.S. at 226). Ultimately, no one factor is controlling; the evaluation of

voluntariness is based on the totality of the circumstances. Id. However, “account must

be taken of subtly coercive police questions, as well as the possibly vulnerable

subjective state of the person who consents.” Id. at 229.

       It is a deeply-rooted principle that police encounters at a person’s dwelling place

in the middle of the night are “especially intrusive.” United States v. Jerez, 108 F.3d 684,

690-91 (7th Cir. 1997). “Indeed, the special vulnerability of the individual awakened at

the privacy of his place of repose during the nighttime hours to face a nocturnal

confrontation with the police was recognized in the common law that antedates our

separation from England.” Id. (citations omitted). In this case, Michelle Christensen was

awakened around midnight by multiple law enforcement agents banging on her

apartment door. As vulnerable as that timing made her, the situation was made

substantially worse by the fact that as the agents entered the apartment, she did not

even have time to put clothes on before flashlights were shined into her eyes as she

stood naked and humiliated before them.

       When a knock at the door comes in the dead of night, the nature and effect of the

intrusion into the privacy of the dwelling place must be examined with the greatest of

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caution. Jerez, 108 F.3d at 690. The Sixth Circuit has held a wife’s consent to be

involuntary where she was asked to permit a search in the middle of the night, while

emotional, and just after the removal of her husband from the apartment. United States

v. Tatman, 397 Fed. Appx. 152, 165 (6th Cir. 2010). Similar circumstances existed here.

Although she is an intelligent woman who had attended college, Mrs. Christensen had

virtually no experience with law enforcement. Even an educated and intelligent person

is extremely vulnerable when confronted in the middle of the night in her dwelling

place.

         Second, Mrs. Christensen was under the impression that she had no choice in the

events of that morning. She believed she had no control over their search of the

premises. As noted above, the agents began searching the apartment and taking

photographs immediately upon her husband’s removal from the premises and while

she was being interviewed by Special Agents Huckstadt and Tenaglia. She did not sign

the FD-26 until two hours later, at the conclusion of her interview and after the agents

had already been searching for a substantial amount of time. The search was already

two-thirds over at that point.

         Based on those circumstances, Mrs. Christensen felt she had no say in whether

the search would be conducted. In United States v. Starnes, 501 Fed. Appx. 379, 389 (6th

Cir. 2012), the defendant’s wife did not fully read or understand the FBI’s consent form,

and believed that her refusal to allow the search would have been utterly futile due to

the fact that a search of the premises had already begun prior to her signing the consent

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form. Consent is not freely or voluntarily given when a scared, shaken up and confused

woman is placed under highly distressing, fast moving circumstances such as those at

issue in this case. Id. at 390.

       In the present case, the totality of the circumstances indicate that Mrs.

Christensen’s alleged consent could not have been voluntary. She was wakened from

sleep by multiple law enforcement officers pouring into her apartment and taking her

husband away for questioning. Although intelligent, she was surprised, confused, and

scared. She was also wholly unaware of her right to refuse to consent to a search of the

apartment. Based on the foregoing, any alleged consent to search given by her should

be deemed involuntary.

       C.      Brendt Christensen was removed from the premises with the intent of
               interfering with his constitutional right to refuse a consent search of his
               apartment.

       Even if Michelle’s consent can somehow be deemed voluntary, the search was

still invalid because Mr. Christensen was removed from the premises and denied his

right to refuse consent. In general, the consent of one person who possesses common

authority over the premises is valid against the absent, non-consenting person. United

States v. Matlock, 415 U.S. 164, 170 (1974). However, the Supreme Court has recognized a

narrow exception where a physically present inhabitant’s express refusal of consent to

search is unequivocally made, regardless of the consent of the other inhabitant.

Fernandez v. California, 134 S. Ct. 1126, 1133 (2014) (citing Georgia v. Randolph, 547 U.S.

103, 122-23 (2006)). By extension, if the non-consenting person is physically absent from

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the residence because he is removed from the premises without lawful authority, the

third party’s consent should also be deemed invalid. Randolph, 547 U.S. at 121.

       When agents removed Mr. Christensen from the premises, he was not under

arrest nor was there probable cause to arrest him. This is a distinguishable factual

scenario from the majority of cases invoking the forced absence exception to third party

consent. For example, in United States v. Jones, 861 F.3d 638, 642 (7th Cir. 2017), the

defendant invoked Randolph and claimed that officers removed him prior to the search

for the sake of avoiding a possible objection to his girlfriend’s consent. The Seventh

Circuit found that the defendant’s removal from the premises was objectively

reasonable because officers had reason to believe that he was armed and dangerous and

therefore a threat to officer safety and because there was independent probable cause to

arrest him. Id. In United States v. Groves, 530 F.3d 506, 512 (7th Cir. 2008), the defendant

was absent from the residence at the time officers approached his girlfriend and

requested consent to search. The Seventh Circuit found no Randolph violation because

the officers “did nothing to procure” the defendant’s absence; rather, they went to the

home knowing he was not present, which was insufficient to warrant relief under

Randolph. Id. Similarly, in United States v. Reed, 539 F.3d 595, 598 (7th Cir. 2008), the

defendant was absent from the residence at the time of the search as the result of a valid

arrest, thereby rendering his girlfriend’s consent proper.

       When the agents arrived at Mr. Christensen’s apartment, they were purportedly

there to search his vehicle and to ask him some questions. He could have been

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questioned at the residence, but instead he was taken away, thereby isolating his wife

inside with seven FBI agents. There was no discussion of a search, consensual or not,

prior to his removal. As he was not under arrest at the time, there was no probable

cause to arrest him, nor any threat to officer safety, his removal from the apartment can

be viewed as an intentional attempt to interfere with his ability to refuse consent to

search, thereby invalidating his wife’s third party consent.

       D.     The search warrant that existed for the vehicle was unlawfully used as
              an excuse to enter the apartment, therefore any evidence obtained
              pursuant Michelle Christensen’s alleged consent must be suppressed as
              fruit of the poisonous tree.

       It is undisputed that at the time the agents approached Apartment B-2, they had

a search warrant for the Saturn Astra that was parked outside of the building. They did

not have a search warrant for the apartment, nor did they have an arrest warrant for

Mr. Christensen. There was no indication that a protective sweep was necessary, nor

were there any exigent circumstances present. Put simply, the agents had no legal right

to enter the apartment when they arrived there at almost midnight on June 14, 2017.

They were permitted only to approach the apartment a) to ask for the keys to the

vehicle so as to facilitate the execution of the search warrant or b) to ask to speak to the

residents (commonly referred to as a “knock and talk”).

              i.     The actions of the agents do not meet the requirements of a legal knock and
                     talk.

       The home and the curtilage surrounding it are constitutionally protected areas.

Florida v. Jardines, 569 U.S. 1, 6 (2013). It is presumptively unreasonable to search a home

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or its curtilage without a warrant, but under the “knock and talk” exception, a police

officer may approach a home and knock because it is the same type of action that any

private citizen could take. Jardines, 569 U.S. at 8. As the Supreme Court noted, it is

“managed without incident by the Nation’s Girl Scouts and trick-or-treaters” as a

matter of course. Id.

       But the timing and purpose of the knock and talk is relevant in evaluating the

constitutionality of such a technique. Most residents do not expect visitors to visit them

in the middle of the night; rather, they are expected during normal waking hours.

United States v. Lundin, 817 F.3d 1151, 1159 (9th Cir. 2016). The analysis underlying the

holding of Jardines depended upon allowing the police to engage in conduct that

average, everyday people might engage in; this does not include knocking on a

neighbor’s door during time periods where normal residents would be asleep.

Additionally, “[t]he scope of a license – express or implied – is limited not only to a

particular area but also to a specific purpose.” Jardines, 569 U.S. at 9. The only

permissible result from a knock-and-talk is to ask questions of the occupants. Lundin,

817 F.3d at 1159. Officers who knock on the door of a residence for other purposes

generally exceed the scope of the customary license and therefore overstep the bounds

of the knock and talk exception. Id.

       The decision to conduct a knock and talk at nearly midnight on a weeknight is

questionable simply based on the timing, but subsequent actions taken by the agents

utterly remove this case from the realm of constitutionality. Instead of waiting to be

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received or invited into the home as is contemplated by knock-and-talks, multiple

agents entered the apartment en masse before Michelle Christensen could even cover her

nudity. The purpose of entering the apartment in such an aggressive manner was to

secure Brendt Christensen, get him to agree to an interview remove him from the

premises and, ultimately, to get Michelle Christensen to agree to let them search the

property. Therefore, both the purpose and the timing of the entry into the apartment are

inconsistent with the constitutional principles laid out by Jardines.

              ii.    The illegal entry into the apartment cannot be cured, therefore the
                     exclusionary rule should be applied.

       Otherwise voluntary consent can nonetheless be tainted by a prior illegal entry.

United States v. McMillian, 786 F.3d 630 (7th Cir. 2015). An analogous case is that of

United States v. Abarza, 199 F. Supp. 3d 1270 (D. Or. 2016). In Abarza, law enforcement

officers went to the defendant’s home at approximately 2:30 a.m. carrying flashlights.

Id. at 1273. One of the officers approached the back door and knocked, and the

defendant answered shortly thereafter; it was clear she had been sleeping. Id. at 1274.

After a brief conversation, she let the officer into the residence and he began asking her

questions. Id. Within a few minutes she began making incriminating statements. Id. The

district court found that, even though the defendant consented to the officer entering

the home, the consent was fatally tainted by the circumstances under which that

consent was made. Id. at 1276. The fact that the officer entered the curtilage of the home

in the middle of the night, when no reasonable homeowner would expect a visitor,

without probable cause, without a warrant, and without the express invitation of the
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homeowner violated the Fourth Amendment and required suppression of the

defendant’s statements. Id.

       The exclusionary rule preventing the use of evidence obtained in violation of the

Fourth Amendment is designed to deter lawless conduct by law enforcement officers.

United States v. Robeles-Ortega, 348 F.3d 679, 681 (7th Cir. 2003) (citing Brown v. Illinois,

422 U.S. 590, 598 (1975); Wong Sun v. United States, 371 U.S. 471, 486 (1963)). In

determining whether evidence is tainted by a prior illegality, it must be determined

whether the evidence was obtained by exploitation of the illegal act or by means

distinguishable from the primary taint. Id. (citing United States v. Valencia, 913 F.2d 378,

382 (7th Cir.1990)). “Where the search following the illegal entry is justified based on

alleged consent, courts must determine whether that consent was voluntary, and in

addition the court must determine whether the illegal entry tainted that consent. The

Supreme Court has identified a number of factors relevant to that inquiry, including (1)

the temporal proximity of the illegal entry and the consent, (2) the presence of

intervening circumstances, and, particularly, (3) the purpose and flagrancy of the

official misconduct.” Id.(citing Brown, 422 U.S. at 603–04).

       In this case, the illegal entry into the apartment directly resulted in the

“consensual” search authorized by Mrs. Christensen. There were no intervening

circumstances at all, and the agents went to the apartment in a deliberate show of force

with the intent of obtaining a confession from Mr. Christensen and consent from his

wife to search the premises. Because the agents illegally entered the apartment, any

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subsequent consent given by Michelle Christensen should still be excluded as fruit of

the poisonous tree.

      WHEREFORE, Defendant Brendt A. Christensen respectfully requests that this

Court enter an Order suppressing all physical evidence seized from 2503 W. Springfield

Avenue, Champaign, Illinois, pursuant to the illegal search on June 15, 2017, and for

any other relief that this Court deems appropriate.

             Respectfully submitted,

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                              CERTIFICATE OF SERVICE

      I hereby certify that on Aguust 24, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and

Trial Attorney James B. Nelson. A copy was also mailed to the defendant.


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